                                         Case 3:07-cv-05944-JST Document 4605 Filed 04/26/16 Page 1 of 1




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                                   4                                UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                      MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                       Case No. C-07-5944 JST

                                   9
                                        This Order Relates To:                             ORDER TO SHOW CAUSE RE:
                                  10                                                       ADDITIONAL POTENTIALLY MOOT
                                                                                           MOTIONS
                                  11    ALL DIRECT ACTION PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13          Review of the docket suggests that the following motions have become moot: ECF Nos.

                                  14   2964, 2965, 3127. Any party who believes otherwise is ordered to file a statement to that effect,

                                  15   with an explanation why judicial relief is appropriate, by April 29, 2016. If no such statement is

                                  16   received, the motions will be denied as moot.

                                  17          IT IS SO ORDERED.

                                  18   Dated: April 26, 2016
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                                                                                                     JON S. TIGAR
                                  20                                                           United States District Judge

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